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                                       UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY

                                                                        x
         FRANCIS FENWICK, EDWARD SAFRAN, STEVE                              Civil Action No.:
         HARDING, MARY WARDRETF, and LYNDA YOUNG.                           I 2-CV-07354-PGS-DEA
         Individually and on behalf of all others simiLariy situated,

                                                        Plaintiffs,

                                  V.                                        STIPULATION Q!
                                                                            DISMThSAL WITH
                                                                            PREJUDICE
         RANBAXY PHARMACEUTICALS, INC., RANBAXY
         LABORATORIES, LTD., RANBAXY LABORATORIES,
         INC., RANBAXY, INC., RANBAXY USA, 01-TM
         LABORATORIES, ABC CORPORATIONS 1-10, and
         JOHN DOES 1-10,
                                           Defendants.
                                                                        x
                  IT IS HEREBY STIPULATED AND AGREED by and between the parties and their

         respective counsel that the above-captioned matter be and is hereby dismissed with prejudice.

         Each party will bear its own fees and costs.

         Dated: January     ,   2019


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